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May 9, 2019
                                                                          Jonathan B. New
                                                                          direct dial: 212.589.4650
                                                                          jnew@bakerlaw.com

VIA CM-ECF

Honorable Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:    United States v. Christopher Collins, et al., No. 18-cr-567 (VSB) (S.D.N.Y.)

Dear Judge Broderick:

       We are counsel for Defendant Christopher Collins and submit this request for leave of the
Court that attorneys Barr and Wangsgard be excused from Local Civil Rule 1.8, such that each
attorney may bring one Personal Electronic Device into the courthouse at the May 10 Conference.

        Local Civil Rule 1.8, incorporated by Local Criminal Rule 1.1, authorizes the possession
of Personal Electronic Devices by administrative order. Accordingly, we respectfully request
entry of such an order. We understand that any devices authorized pursuant to this request will be
subject to examination for security purposes as are all other materials brought into the courthouse.
Further, we have read and understand the 2016 Committee Note to Rule 1.8 regarding the
continued prohibition on making any audio or video recording of any proceeding or
communication with the Court.

Sincerely,

/s/ Jonathan B. New
Jonathan B. New
Jonathan R. Barr
Kendall E. Wangsgard
BakerHostetler LLP
212.589.4650

Counsel for Christopher Collins
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Honorable Vernon S. Broderick
May 9, 2019
Page 2


Attachment (proposed order)

cc: All counsel of record (via CM-ECF)
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________                  x

IN THE MATTER OF AN APPLICATION
TO BRING PERSONAL ELECTRONIC DEVICE(S)
OR GENERAL PURPOSE COMPUTING DEVICE(S)
INTO THE COURTHOUSES OF THE
SOUTHERN DISTRICT OF NEW YORK
FOR USE IN A PROCEEDING OR TRIAL
___________________________________________                  x


          The following Order is subject to the definitions, obligations and restrictions imposed
pursuant to Standing Order M10-468, as Revised. Upon submission of written application to
this Court, it is hereby
          ORDERED that the following attorney(s) are authorized to bring the Personal Electronic
Device(s) and/or the General Purpose Computing Device(s) (collectively, “Devices”) listed below
into the Courthouse for use in a proceeding or trial in the action
           United States v.
captioned___________________________________________________________________
          Christopher Collins, et al.
_____________________________________________________________,     18-cr-567
                                                               No. _________.
                                                              May 10, 2019
The date(s) for which such authorization is provided is (are) __________________                    .

 Attorney                                              Device(s)


 1.                                                     One Apple iPhone 8 Plus
        Jonathan R. Barr


 2.
        Kendall E. Wangsgard                             One Samsung Galaxy J3 Eclipse


 3.

                                       (Attach Extra Sheet If Needed)

         The attorney(s) identified in this Order must present a copy of this Order when entering
the Courthouse. Bringing any authorized Device(s) into the Courthouse or its Environs
constitutes a certification by the attorney that he or she will comply in all respects with the
restrictions and obligations set forth in Standing Order M10-468, as Revised.

                     SO ORDERED:

Dated:               _____________

                                             ____________________________________________
                                                            United States Judge


Revised: February 26, 2014
